JPML FORM 1A

DOCKET NO.°458 --

DOCKET ENTRIES

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

In re Disaster at Ryadh Airport, Saudi Arabia, on
August 19, 1980

 

Date

 

 

Pleading Description

 

81/01/30

81/02/06

81/02/09
81/02/10

81/02/19
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MOTION, BRIEF, CERT. OF SVC. -- plaintiff Christine Curtis

Suggested transferee court: ~€-B,Californtal Jie pry Amy
Suggested Transferee Judge: ds)

et al.
1981.

REQUEST FOR EXTENSION OF TIME -- pltfs. Muller,
GRANTED TO ALL PARTIES TO & INCLUDE March 2,

AMENDED CERT. OF SVC. —--

(ds )

(Pleading No. 1) (emh )

APPEARANCES -- Terry W. Backus for Trans World Airlines, Inc.;
Henry J. Bogust for Lockheed Corp.; Robert R. Smiley for

Walter Muller, Andrew Muller, Ms. Jackee Muller;

Gerald Cc. Sterns for Christine Curtis (emh)

APPEARANCE -- Nancy Dutton for Kingdom of Saudi Arabia

AMENDED NOTICE OF MOTION, BRIEF, CERT. OF SVC.

suggested transferee district from C.D. Cal.
D. District of Columbia -~- Plaintiff Curtis.
involved counsel. (ea)

RESPONSE, BRIEF IN SUPPORT OF, EXHIBITS A THRU D, CERT.

ueMbrRXGom~inPobbSsr dhe’ ont. Bb: svc. (E38) PIde. plidg. No. 3)

Pldg. No. 1 --
Interested party Richard H. Jones, Esq. (ea)

JOINDER AND CONCURRENCE W/MOTION (PLDG. NO. 1), BRIEF,
CERT. OF SVC. -- Deft. Lockheed Aircraft Corp. (ea)
AMENDED CERT. OF SVC. -- (for pldg. no. 5) -- Interested party
Shae William E. Donnelly, Esq. (ea)

(emh)

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to the
Notified

RPeSPONSE, BRIEF, CERT. OF SVC.
Airlines. (ea)

CART. OF
Lockheed

~~ Deft. Trans World

MOTION,
Deft.

BRIEF,

SVC. “%o
Aircraft Corn.

transfer to C.D.
(ea)

AMENDED CERT. OF SVC. for pldg. no. 7 -- Deft. Trans World

Airlines. (ea)

HEARING ORDER -- Setting Motion to transfer A-1 and A-2 for
Panel hearing in Washington, D. C. on April 30, 1981 (cds)

AMENDMENT TO HEARING ORDER FILED ON MARCH 23, 1981 -- Setting

Amended Motion to Transfer for Panel Hearing in Washington,
D. C. on April 30, 1981 (cds)

RESPONSE, MEMORANDUM -- Plaintiff Edward M. Holland --
w/cert. of service (cds)

APPEARANCE -- Carroll E. Dubuc, Esq. for Lockheed Corp. (rew)

 

 
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JPML FORM IA — Continuation DOCKET ENTRIES ~~ p.
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DOCKET No. 4°98-~-

 

 

Date Pleading Description

 

 

81/05/18 CONSENT OF TRANSFEREE COURT for assignment of litigation
peor to the Honorable Thomas A. Flannery, D. D.C. (emh)

81/05/18 TRANSFER ORDER -- transferring litigation to the District
of the District of Columbia for coordinated or
consolidated pretrial proceedings. (emh)
81/07/24 CONDITIONAL TRANSFER ORDERS FILED TODAY (2) --
B-9 Masood, etc. v. Saudi Arabian Airlines, etal.,
S.D.N.Y., 81-Civ-4410; B-10 Kot.v. Lockheed, 'C.D.Cal.,
CV80-5653 -- Notified involved counsel and judges. (eaf)
81/08/11 CONDITIONAL TRANSFER ORDERS FINAL TODAY -- B-9 Masood, etc.
v. Saudi Arabian Airlines, et al., S.D.N.Y., 1-Civ-—-4410
and B-10 Kot v. Lockheed Aircraft Co., et al., C.D.Cal.,
CVO-5653-LTL ~- Notified involved judaes and clerks (cds)
81/08/27 CONDITIONAL TRANSFER ORDERS FILED TODAY -- B-11 thru B-20
listed below. Notified involved counsel and judges. (ds)

Kathryn Jane McArthur, et al. v. c.p.Ccal 81-4159 ]

The Lockheed Corp., et al. Whelan FW

Don O'Connell, et al. v- The Lockheed C.D. Cad 81-4260
Corp., et al. Hil

Pi-Ko Wang Liu, et al. v. The Lockheed c.D.Cal 81-4161
Corp., et al. Lucas MML

. The Lockheed c.D.Cal 81-4162
Spee ale mashimal AW?

Sylvia Katherine Fowler, et al. v. c.D-cat 8174263
The Lockheed Corp., et al. Lydi

Shamshad Ahmed Aftab, v- The Lockheed c.D.Ccal 8174164
Corp., et al. Gray

. Lockheed | C.D.Cal} 81-4165
Bare Anne MacPherson v. The ae PACD)

w.p.Call c-81-3344

Khurshid Bano Kapadia, et al. Ve 0

Lockheed Corp., et al. Orrick

Suppia Francis, et al. v. Lockheed ye co81- 3348
Corp., et al.

|
v. Lockheed N.D. Call. C-81-3346

Cc. A. Ibrahim, et al. a orick wao

Corp., et al.

 

 

 

 

 

 
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DOCKET NO. IEF --

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Date Pleading Description

 

 

81/09/01 CONDITIONAL TRANSFER ORDERS FILED TODAY -- B-22 thru B-29
listed below. Notified involved counsel and judges. (ds)

April Swedo Saudi Arabian Airlines |C.pD.Cal
Corp. Hill

April Swedo Saudi Arabian Airlines |C.D.cal
Corp. Hauk

April Swedo v. Saudi Arabian Airlines c.D.Cal
Corp. Gray

April Swedo Saudi Arabian Airlines |C.pD.Ccal
Corp. Real

Judith Anne Frances Hindle, ét al. v. |C.D.Cal
The Lockheed Corp., et al. Takasug

Sandra Rugg v. Saudi Arabian Airlines |C.D.Cal
Corp. Waters

April Swedo v. Saudi Arabian Airlines |cC.p.cal
Corp. Kenyon

April Swedo v. Saudi Arabian Airlines | C.D.Cal
Corp. Marshal

 

 

 

81/09/14 CONDITIONAL TRANSFER ORDERS FINAL: TODAY - B-11 thru B-20
listed below. Notified involved clerks and judges. (ds)

Kathryn Jane McArthur, et al. v. ‘ C.D.Cal 81-4159 :
The Lockheed Corp., et al. Whelan FW

Don O'Connell, et al. v. The Lockheed | C.D.Cal 81-4160
Corp., et al. Hill IH

Pi-Ko Wang Liu, et al. v. The Lockheed} C.D.Cal 81-4161
Corp., et al. Lucas MML

Shaena Joyce Peace v. The Lockheed c.D.Cal 81-4162
Corp., et al. . Tashima} AWT

Sylvia Katherine Fowler, et al. v. c.D.Ccal 81-4163
The Lockheed Corp., et al. . Lydick LTL

Shamshad Ahmed Aftab, v. The Lockheed | C.D.Cal 81-4164
Corp., et al. Gray WPG

Hazel Anne MacPherson v. The Lockheed c.D.Cal 81-4165
Corp., et al. - Hauk - AAH (J)

Khutshid Bano Kapadia, et al. v. N.D.CalL C-81-3344
Lockheed Corp., et al. Orrick WHO

Suppia Francis, et al. v. Lockheed N.D.Cal C-81-3345
Corp., et al. Orrick WHO

C. A. Ibrahim, et al. v. Lockheed N.D.Cal C-81-3346
Corp., et al. Orrick WHO

 

 

 

 

 

 

 
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JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. SOR.

 

 

 

Date Pleading Description

 

 

81/09/14 CONDITIONAL TRANSFER ORDERS FILED TODAY --
B-30 Ahmad, et al. v. Lockheed Corp., E.D.Mich., 8172924
B-31 Masood, et al. v. Lockheed Corp., N.D.Calif.,
C-81-3343-MHP
NOTIFIED INVOLVED COUNSEL AND JUDGES. (emh )
81/09/18 SFONDITIONAL TRANSFER ORDERS FIMAL TODAY -- 3-22 thru B-29
“listed below. Notified involved judoes and clerks. (ds)

April Swedo v. Saudi Arabian Airlines | C.D.Cal
Corp. Hill

April Swedo v. Saudi Arabian Airlines |C.D.Cal
Corp. Hauk

April Swedo v. Saudi Arabian Airlines |C.D,Cal
Cc rp. Gray

April Swedo v. Saudi Arabian Airlines |C.D.Cal
Corp. Real

Judith Anne Frances Hindle, et al. v. |C.D.Cal
The Lockheed Corp., et al. Takasug

Sandra Rugg v. Saudi Arabian Airlines |C.D.Cal
Corp. Waters

April Swedo v. Saudi Arabian Airlines |C.D,Cal
Corp. Kenyon

April Swedo v. Saudi Arabian Airlines |C.D,Cal
Corp. Marshal]

 

 

 

 

 

81/09/2 CONDITIONAL TRANSFER ORDER FILED TODAY -- B-32 The
Muskegon Bank & Trust Co., etal. v. Saudi Arabian
Airlines, C.D.Calif., 81-3473-R -- Notified involved
counsel and judges. (eaf)

81/09/24 CONDITIONAL TRANSFER ORDERS FILED TODAY -~- B-33 Muller, et
al. v. The Lockheed Corp., et al., C.D. California, C.A.
No. 81-4589-TJH; B-34 Stirrett, et al. v. The Lockheed
Corp., et al., C.D. California, C.A. No. 81-4862-MML(JRX)
and B-35 Stirrett, et al. v. The Lockheed Corp., et al.,
C.D. California, C.A. No. 81-4825-IH. Notified involved
counsel and judges. (ds)

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JUDICIAL PANEL ON MULTIDISTRICT. LITIGATION

 

 

 

 

Pleading Description

 

 

CONDITIONAL TRANSFER ORDERS FINAL TODAY -~ B-30 Mizra
Makhboom Ahmad, et al. v. Lockheed Corp., et al., E.D.
Mich., C.A. No. 8172924; B-31 Shahid Masood, et al. v.
Lockheed Corp., et al., N.D. California, C.A. No.
C-81-3343-MHP. Notified involved clerks and judges. (ds)

81/10/02 CONDITIONAL TRANSFER ORDER FILED TODAY --

B-36 Rajabali Bidkhori, etc., et al. v. The Lockheed Corp.
et al., C.D.Calif., 81~4998-RJK
NOTIFIED INVOLVED COUNSEL AND JUDGES. (emh)

81/10/05 CONDITIONAL TRANSFER ORDERS FILED TODAY -- B-37 thru B-43
listed below. Notified involved counsel and judges. (ds)

i do v. Saudi Arabian Airlines |. p.cat. 81-4826 |
corp. owe (tashima AWT (Px)

April Swedo v. Saudi Arabian Airlines |C.D.Cal;} 81-4827
Corp. Hauk AAH (Gx)

April Swedo v. Saudi Arabian Airlines | C.D.Cal 81-4864
Corp. Gray WPG

April Swedo v. Saudi Arabian Airlines | C.D.Cal}. 81-4865
Corp Lydick! Lt (Gx)
YO

AT AT vy. Saudi Arabian Airlines |C.D.Cal}, 81-4866
Corp. ’ Kenyon KN (Mx)

i . Saudi Arabian Airlines | C.D.Cal 81-4867
oere. Swedo v Marshal CBM (Px)

i . Saudi Arabian Airlines | C.D.Cal 81-4869
oer Swede v Pfaelzer MRP (JRx)

 

 

 

 

81/10/07 CONDITIONAL TRANSFER ORDERS FILED. TODAY -~- B-44 Khan, et

al. v. Lockheed Corp., et al., C.D. Cal., C.A. No.

81-5083 WMB; B-45 Hernandez, et al. v. Lockheed Corp., et

al., C.D. Cal., C.A. No. 81-5084 MLR; B-46 Zaman, et al.

v. Lockheed Corp., et al., C.D. Cal., C.A. No. 81-5085

TJH. Notified involved counsel and judges. (ds)

81/10/09 CONDITIONAL TRANSFER ORDER FINAL TODAY --

B-32 The Muskegon Bank & Trust Co., et al. v. Saudi Arabian
Airlines Corp., C.D. Calif., C.A.No. 81-3473-R

NOTIFIED INVOLVED CLERKS AND JUDGES. (emh )

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JUDICIAL PANEL ON MULT IDISTRICT LITIGATION

DOCKET NO.

 

 

 

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81/10/13 CONDITIONAL TRANFER ORDERS FINAL TODAY —-- B-33 Muller, et
al., C.D. Calif., C.A. No. 81-4589-TJH; B-34 Stirrett, et
al., C.D. Calif., C.A. No. 81-4862-MML(JRx);

B-35 Stirrett, et al., C.D. Calif., C.A. No. 81-4825-TH.
(All of the above pltfs. v. The Lockheed Cornv., et al.
Notified involved clerks and judaes. (ds)

81/10/14) NOTICE OF OPPOSITION (B-36 Rajabali Bidkhori, etc., et al.
v. The Lockheed Corp., et al., C.D. Calif., 81-1998-RJK)
-- filed by pltf. Rajabali Badkhori (emh)

81/10/21 CONDITIONAL TRANSFER ORDERS FINAL TODAY IN 7 CASES LISTED
BELOW. Notified involved cierks and judges. (eaf)

B-37 {April Swedo v. Saudi Arabian Airlines £.D.Cal.| 81-4826
Corp. (rashima AWT (Px)

April Swedo v. Saudi Arabian Airlines | C.D.Cal 81-4827
Corp. : Hauk AAH (Gx)

April Swedo v. Saudi Arabian Airlines | C.D.Cal 81-4864
Corp. Gray WPG

April Swedo v. Saudi Arabian Airlines c.D,.Call. 81-4865
Corp. Lydick LI (Gx)

April Swedo Saudi Arabian Airlines |C.D.Cal} 81-4866
Corp. Kenyon KN (Mx)

April Swedo v. Saudi Arabian Airlines c.D,Cal 81-4867
Corp. Marshal CBM (Px)

April Swedo v. Saudi Arabian Airlines C.D.Cal; 81-4669
Corp. Paelzer MRP (JRx)

 

 

 

 

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BELOW. Notified involved clerks and judaes. (eaf)

B-44 Khan, etal. v. Lockheed Corn, ,O.Cal,, 21-5095 (k)
B-45 Hernandez, etal. v. Lockheed,C.Cal.,81-5N84-MLR
B-46 Zaman, etal. v. Lockheed, C.Cal., 8)-505-TJH(G)
81/10/28 MOTION TO VACATE CTO (B-36 Bidkhori, et al. v. The Lockheed
Corp., et al., C.D. Calif., 81-4998-RJK) -- Pl1tf.
Rajabali Bidkhori -- w/Memorandum and cert. of svc.(emh)
81/11/06 HEARING ORDER -- Setting Opposition of Plaintiff Rajabali
Bidkhori to transfer of action B-36 Bidkhori, etc. et al.
: v. Lockheed Corp., et al., C.D. Cal., 81-4998-RJK --
West Palm Beach, Florida on December 8, 1981 (cds)
81/11/12 MEMORANDUM, CERT. OF SVC. -- Defts.
and Trans World Airlines. (eaf)
81/11/14 RESPONSE (to Pleading No. 11) -- Lockheed Corp. --
w/Exhibits and cert. of svc. (emh)
81/11/23: | REPLY, CERT. OF SVC. -- Pltfs. Bidkhori, etc., etal. (eaf)

81/11/30: APPEARANCE -- Robert Borden, Esq. for Rajabali Bidkhori, etc.etal (eaf
: ‘ Mh be ,

81/10/23! CONDITIONAL TRANS®E 2H ORDRES @TMaAL, Tanav te

 

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DOCKET ENTRIES

JUDICIAL PANEL ON MDULTIDISTRICT LITIGATION

In re Disaster at Riyadh Airport, Saudi Arabia, on
August 19, 1980

 

 

 

Description

81/12/01: HEARING APPEARANCES -- CARROLL E. DUBUC, ESQ. for Lockheed
Corporation; PHILLIP M. FOSS, ESQ. for Saudi Arabian

Airlines and Trans World Airlines. (ds)

81/12/01 -WAIVER OF ORAL ARGUMENT -- Rajabali Bidkhori; Various

plaintiffs, April Swedo, et al. (ds)

81/12/03 STATEMENT IN CLARIFICATION OF CERTAIN MATTERS ALLEGED BY
ROBERT BORDEN -- Passenger Plaintiffs Committee --
i w/cert. of service, Exhibits A through G (cds)

81/12/23 TRANSFER ORDER -—- transferring B-36 Rajabali Bidkhori,
et al., v. The Lockheed Corp., C.D. Calif., C.A. No.
CV-81-4998-RJK -- pursuant to 28 U.S.C. §1407. (emh)

 

 

 
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JPML Form 1
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Revised: 8/78
DOCKET NO. ~~ JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 

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SUMMARY OF LITIGATION
Hearing Dates Orders Trans feree

 

 

April 30, 1981 Dates Filed Type Citation District Name of Judge Assigned From

 

 

5/18/81 TO D.D.C. Hon. Thomas A. Flannery

 

 

 

Special Transferee Information

DATE CLOSED:

 
" SPML FORM 1 LISTING OF INVOLVED ACTIONS

DOCKET NO. 458 -- In re Disaster at Riyadh Airport, Saudi Arabia; ,on August 19, 1980

 

 

Intra- District Civil Transferea@Date of
Office and Action Transfer} Docket Dismissal
Number Caption Judge Number Date Number jor Remand

! } we
Christine Curtis v. Lockheed Corp., | C.D.Ca. cv-81-0237|.s/4/9/ 5 TS 4//3)62D

et al. ; lh. pth,
Walter Muller. et al. v. The Lockheed] D.D.C. 80-2638 Shoals 24

Corp. , @t-al. ‘ a
s hols 2p
The Muskegon Bank & Trust Co., et al.|D.D.C. 81-0617

v. The Lockheed Corp., et al. Flannery

 

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Edward M. Holland, etc. v. The D.D.c. | 81-0914 5 hols
Lockheed Corp. Flannery .

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Edward M. Holland, D.D.C. 81-0916 ©
Lockheed Corp. Flannery . | 4
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Edward M. Holland, D.D.C. 81-0915
Lockheed Corp. Flannery

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sat

Edward M. Holland, D.D.C. 81-0917
Lockheed Corp. Flannery

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Sara Ghafoor, etc. v. The Lockheed  |D.D.C. 81-1015
Corp., et al. Flannery a

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Shahid Masood, etc. v. Saudi Arabian |$.D.N.yY.| 81-Civ—-4410 chelere

Airlines,,et al. Yay /8/ weinfeld

Richard Francis Kot v. Lockheed C.D.Calilf.cv80-5653~- “4
Aircraft Co., et al. q Ay 8/ Lydick she G24

 

 

 

 

 

 

 

 
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Listing of Involved Actions -- p. 2 |
DOCKET NO. 458 -- In re Disaster at Riyadh Airport, Saudi Arabia, on August 19, 1980
Intra- District] Civil Date of
Office’ and Action TransferffransfereePpismissal
Number Caption Judge Number Date Pocket No.pr Remand Misc.
4 ae Cae Oh
B-11 |Kathryn Jane McArthur, et al. v. C.D.Cal} 81-4159 en IYe/ $2 45 [5% S/$2)
The Lockheed Corp., et al. F/B /st Whelan FW |
2: gf o/ Se.
B-12" | Don O'Connell, et al. v. The Lockheed |C.D.Cal} 81-4160 ali P2957 Jo sare
Corp., et al. ye /s1 Hill IH /
. ~ ese 5 AO] § 2
B-13 | Pi-Ko Wang Liu, et al. v. The Lockheed|C.D.Cal} 81-4161 q [14/8] sj 2 9 SE lI
Corp., et al. 9 /DB/G 1 Lucas MML - ,
. IY S| gh aPtt <Jaols >
B-14 Shaena Joyce Peace v. The Lockheed C.D.Cal} 81-4162 q
Corp., et al. FRY | Tashima; AWT
B-15 Sylvia Katherine Fowler, et_al. v.. c.D.Call 81-4163 q IY} 8 / fire A739 ¢/20/52
The Lockheed Corp., et al. 5/27/5! Lydick LTL
B-16 |Shamshad Ahmed Aftab, v. The Lockheed | C.D.Cal} 81-4164 9 4/8) S/-AA TNS ho |e2.
Corp., et al. 9/AE/S/ Gray WPG
B-17 | Hazel Anne MacPherson v. The Lockheed | C.D.Cal, 81-4165 D | 4/8 G/,-QOVA > af 2
Corp., et al. ipat 5! Hauk AAH (J) rH | / / 7 s g
B-18 | Khu#shid Bano Kapadia, et al. v. N.D.cai, c-81-3344| G fy §/ | gp-2 2 73 6/90/52
Lockheed Corp., et al. SP) S/ Orrick WHO
B-19 Suppia Francis, et al. v. Lockheed N.D.Call.. C-81-3345 q fm $) AEG <polez
Corp., et al. S/2E/3/ Orrick WHO /
B-20 | Cc. A. Ibrahim, et al. v. Lockheed N.D.Call, C-81-3346 a|iy/9 S/H BIS gfe, 52.
Corp., et al. 9/29/9/ Orrick WHO
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XYZ-21 Eleanor S. Dobson, etc. v. The D.C. 81-1938 —_———_— $/e a5
Lockheed Corp. -
| | Jel .f
B-22 j|April Swedo v. Saudi Arabian Airlines |C.D.Cal, 81-4235 q})sh6 b [7 52> sh Of 2
Corp. 9d f2fs/ Hill IH ae
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B-23 |April Swedo v. Saudi Arabian Airlines |C.D.Calj} 981-423 13/6) peg 426 SA of
Ve -D. 4 - 9 & JAAS 2.
Corp. 72/5 / Hauk AAH { ",
vent lehal
B-24 | April syedo v. Saudi Arabian Airlines |C.D.Calj 81-4237 a) 9/9 gh ete! Shey be.
P- 7 /2)3-/ Gray WPG

 
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DOCKET NO. 458 --

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Intra- District Civil Date of
Office and Action TransferffransfereeDismissal
Number Caption Judge Number Date Pocket No.pr Remand Misc.
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B-25 |April Swedo v. Saudi Arabian Airlines |C.D.Cal] 81-4234 9-15 -§/ Sl ZBSS| S/LO/ Ge
Corp. 7/2/5/ Real R ay
4 7 Cf~ als
B-26 | Judith Anne Frances Hindle, et al. v. |C.D.Cal 81-4229 G-1E-¥ | J/ PIF epee °
The Lockheed Corp., et al.¢/g F/ Takasugi RMT co

- ~P BVO S 20 ye
B-27 |Sandra Rugg v. Saudi Arabian Airlines |C.D.Calj 81-4233 q-) 5 if i :
Corp. G/L ¥ Waters LEW wp Pee
P 7 IST $/ _p FCS 5 .
B-28 |April Swedo. v. Saudi Arabian Airlines | C.D.Cal 81-4238 G- (§-5)

 

Corp. Pf af J5/ Kenyon KN Vy g 3 V2 bs ‘5 oy:
B-29 |April Swedo v. Saudi Arabian Airlines |C.D.Cal] 81-4236 q-I§ if “
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orp Ts o/§ / Marshall CBM : ;
ou eY |S O/y 2
B-30 | Mizra Makhboom Ahmad, et al. v. E.D.Mich. 8172924 9 [30/81 fio (38), ce
Lockheed Corp., et al. Yd /b! Cohn
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B-31 | Shahid Masood, et al. v. Lockheed N.D.Calif. C-81- 334 FV / gia 37 shalez ib
Corp., et al. Patel all! "
P Yyu | 4 |
B-32 The Muskegon Bank & Trust Co., et al. |C.D.calif. 81-3473 Fye/9/¢/ gl ae RF ff Of§ 2
v. Saudi Arabian Airlines Corp. Real
9 3>/%/ :
/ ,
B-33 Walter Muller, et al. v. The 1C.D.Calif. 81-4589+TJH 7 asos 4 /, afk ‘
Lockheed Corp., et al. q fay is! Hatter j0}/3)5) S/-: ¢
B-34 Roberta W. Stirrett, et al. y.. | C.D.Calif. 81-4862+MM1L(JRx) 5 f° B95 OF ; : a C2.
The Lockheed Corp., et al. alas! Lucas ID 3B
B-35 Roberta W. Stirrett, et al. v. The C.D.Calif. 81-4825-I1H -, 4 * 24 a

Lockheed Corp., et al. jar |s| Hill /ota}st |

 

 

 

 

 

 

 

 
 

 

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J FORM 1 Case MDE No: 458 ocu ent ed 05/19/15 Page 12 of 17 |
Listing of Involved Actions -- p.
pocket no. 98 --
Intra- District Civil Date of
Office and Action TransferfransfereePpismissal
Number Caption Judge Number Date Pocket No.pr Remand Misc.

 

 

B-36 | Rajabali Bidkhori, etc., et al. v.  |C.D.Cal.} 81-4998 MeAlas [ar 52 0e4g she a] gx

The Lockheed Corp., et al. 10/8/81 Kelleher| RJK
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‘ Ihe 5 b/s zp

B-37 |April Swedo v. Saudi Arabian Airlines €.D.Cal.| 81-4826 qt 21 19a 7/25 2. |
Corp. LO, S754 Tashima | AWT(Px)

  

B-38 j|April Swedo v. Saudi Arabian Airlines |C.D.Cal} 81-4827 oey 2 1 4991 y[-as BF
Corp. 0} 8754 Hauk AAH (Gx)

B-39 April Swedo v. Saudi Arabian Airlines |C.D.Cal} 81-48649f7 2 1 1981 ~ Sy
Corp. /2>/ Gray WPG
(2 fel , g}-25 faep
B-40 |April Swedo v. Saudi Arabian Airlines | C.D.Cal}. 81-4865 9¢7 2 1 198}
Corp. J/g LZ 16 [ . Lydick LTL (Gx) yp
q LBA, Ne A, eee . . . 6 5 2 a)e/
B-41 Kee it “seas v/YSaudi Arabian Airlines |C.D.Cal} 81-4866 oft 2 1 1981 gyras
Corp. J i/s[rp Kenyon KN (Mx) fp als
B-42 |April Swedo v. Saudi Arabian Airlines | C.D.Cal} 81-4867 OT 2 1 19g $' ASE 7)
Corp. ops /i/ Marshall CBM(Px) |. Jools)
sce SIS }
B-43 |April Swedo v. Saudi Arabian Airlines |C.D.Cal} 81-4869 Q@T 2 1 1981$/ ~< So
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JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 458 --

August 19, 1980

In re Disaster at Riyadh Airport,

Saudi Arabia, on

 

 

 

 

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JPML FORM 4A ~-- Continuation

Panel Attorney Service List -- p. A

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on August 19, 1980

 

 

 

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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 458 -- In re Disaster at Rivadh Airport, Saudi Arabia,
on August 19, 1980

Name of Par Named as Par in Following Actions

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LOCKHEED CORPORATION

TRANS WORLD AIRLINES, INC.

KINGDOM OF SAUDI ARABIA
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